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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,

                Plaintiff,

 v.                                             Case No.24-CR-057-GKF

 MORGAN COLE WOMACK,

                Defendant.


                             ENTRY OF APPEARANCE

      The United States of America, by Reagan V. Reininger, Assistant United States

Attorney for the Northern District of Oklahoma, hereby enters her appearance as

counsel to prosecute the forfeiture matters of the case for the United States of America.

                                         Respectfully submitted,

                                         CLINTON J. JOHNSON
                                         UNITED STATES ATTORNEY

                                         /s/ Reagan V. Reininger
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                           CERTIFICATE OF SERVICE

   I hereby certify that on March 6th, 2024, the foregoing document was electronically
transmitted to the Clerk of Court using the ECF System for filing and transmittal of a
Notice of Electronic Filing to counsel of record.

                                        /s/ Pam Kuch
                                        PAM KUCH, Paralegal




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